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Appellate Case: 14-7096 Document: 01019473507 Date Filed: 08/11/2015 Page: 1
                          UNITED STATES COURT OF APPEALS
                              FOR THE TENTH CIRCUIT
                               OFFICE OF THE CLERK
                                Byron White United States Courthouse
                                         1823 Stout Street
                                      Denver, Colorado 80257
                                          (303) 844-3157
  Elisabeth A. Shumaker                                                            Chris Wolpert
  Clerk of Court                        August 11, 2015                       Chief Deputy Clerk


  Mr. Patrick Keaney
  United States District Court for the Eastern District of Oklahoma
  Office of the Clerk
  100 North 5th Street
  P.O. Box 607
  Muskogee, OK 74401

  RE:       14-7096, Bryant, et al v. Sagamore Insurance Co.
            Dist/Ag docket: 6:13-CV-00240-RAW

  Dear Clerk:

  Please be advised that the mandate for this case has issued today. Please file accordingly
  in the records of your court or agency.

  Please contact this office if you have questions.

                                                Sincerely,



                                                Elisabeth A. Shumaker
                                                Clerk of the Court
  cc:       Vicki Zemp Behenna
            Stacey S. Chubbuck
            Michael C. Felty
            Mikel W. Flores
            Richard Michael Healy III
            Susan Huntsman
            Timila S. Rother
            Christopher B. Woods
  EAS/at
